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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ARIZONA
                                     Phoenix Division

Apache Stronghold,                       )       No. CV-21-______-PHX-
      a 501(c)(3) nonprofit organization,)
                                         )       COMPLAINT
                      Plaintiff,         )
                                         )       For violations of:
       v.                                )
                                         )       Treaty Rights, Trust Responsibility and
                                         )       Fiduciary Duty; the Religious Freedom
                                         )       Restoration Act; First Amendment Rights to
United States of America,                )       Free Exercise of Religion, and to Petition
                                         )       and for Remedy; and Fifth Amendment Right
Sonny Perdue, Secretary, U.S. Department )       to Due Process.
       of Agriculture (USDA),            )
                                         )       And to compel the performance of:
Vicki Christensen, Chief, USDA Forest    )
       Service,                          )       Trust Obligations & To Provide A Full
                                         )       Accounting
Neil Bosworth, Supervisor, USDA Forest )
       Service, Tonto National Forest,   )
                                         )       JURY TRIAL DEMANDED
       and                               )
                                         )
Tom Torres, Acting Supervisor, USDA      )
       Forest Service, Tonto National    )
       Forest,                           )
                      Defendants.        )
____________________________________)


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         The Great Spirit made all things... So live your life that the fear of death can never enter your
heart. Trouble no one about their religion; respect others in their view, and demand that they respect yours.
Love your life, perfect your life, beautify all things in your life. Seek to make your life long and its purpose
in the service of your people.

        Tecumseh, Shawnee Chief (1768-1813), from his speech to the Osages in 1811,
        and other speeches to other Native nations.




                              A version of Benson John Lossing’s engraving (in wood) of
                              Shawnee Chief Tecumseh, with water colors on a platinum
                               print after a pencil sketch by French trader Pierre Le Dru
                                         at Vincennes, taken from life, c.1808.


        Plaintiff Apache Stronghold and its members, by and through their attorneys, allege

and state as follows:

                                 THE NATURE OF THIS ACTION

        1.      This is a gravely serious and urgent matter of the religious freedom rights, the

treaty rights, and land rights of the Western Apache Peoples which the Defendants are now

poised this week to obliterate forever. This case is at a crisis point precipitated by the


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recklessly deliberate and illegal aggressions and harmful, damaging actions of the

Defendants.

       2.     The deliberate and direct effect of the Defendants’ publicly stated plans and

planned actions is to illegally annihilate the religious freedom rights of the Western Apache

Peoples at a sacred and actively utilized religious place and traditional Western Apache

cultural property known to the Apache since time immemorial as Chi’chil Biłdagoteel. A

literal English translation of Chi’chil Biłdagoteel is “Emory Oak extends on a Level,” or

more simply as it is commonly known: “Oak Flat.”




   IMAGE 1: Grove of Emory Oaks at Chi'Chil Biłdagoteel National Historic District &
                      Western Apache Traditional Cultural Property.
 Photograph by Russ McSpadden / Center for Biological Diversity, from “The Mine at Oak
  Flat: A Timeline of Government Bad Faith” by Asa Burroughs, Moyers On Democracy
                                    (December 29, 2020).
   Available online at https://billmoyers.com/story/the-mine-at-oak-flat-a-timeline-of-a-
                                   government-bad-faith/ .




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       3.     The publicly stated primary purpose of the Defendants is to present a concrete

plan and act to enable the conveyance in the immediate future of federally-managed land

which includes Oak Flat, and other lands, to two foreign mining companies, Rio Tinto and

BHP, to install a massive industrial complex to extract copper ore, while dumping the toxic

waste nearby in the process, in spite of knowing that Oak Flat is a traditional cultural and

religious property of the Plaintiff Apache Stronghold and all Western Apache Peoples.

Evidence exists that the Oak Flat “parcel” within the proposed land exchange is not owned

by the Defendant United States of America.

       4.     The traditional Western Apaches have never lost their vital relationship to Oak

Flat, though the U.S. Government, at times in Apache history, has actually imprisoned

Apaches on their own Reservations and often, and for prolonged periods of time, have not

allowed Apaches to come to Oak Flat for any of their traditional reasons and needs which

include for their physical and spiritual health and well-being, and especially in conformance

with their traditional Apache religious beliefs and ceremonies that are centered and seated at

Oak Flat.

       5.     This action is brought to protect the constitutional rights of Apache

Stronghold and its members, guaranteed by the First Amendment Right to the Free Exercise

of Religion, the First Amendment Right to Petition and Remedy, the Fifth Amendment

Right to Due Process (Adequate and Effective Notice), the statutory rights guaranteed by the

Religious Freedom Restoration Act, and for breach of treaty rights, trust responsibilities,

and fiduciary duty owed to Plaintiff Apache Stronghold and its members by the Defendants.




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                                FACTUAL ALLEGATIONS

       6.       Evidence exists that the “Oak Flat Parcel” within the proposed “Southeast

Arizona Land Exchange and Resolution Copper Mine Project” which—quite possibly as

soon as January 15, 2021—is to be conveyed away by the Defendants to the foreign mining

conglomerates Rio Tinto and BHP via their joint subsidiary Resolution Copper Mine, is not

owned by the Defendants.

       7.       The Western Apaches through their 1852 Treaty with the United States of

America continue to have ownership interests in the lands proposed to be conveyed away in

a land swap by the Defendants with the foreign mining conglomerates, Rio Tinto and BHP,

via their joint subsidiary Resolution Copper Mine. Those lands particularly include, but are

not limited to, the “Oak Flat Parcel.” And the “Oak Flat Parcel” of the proposed Resolution

Copper Mine Project is located right smack dab in the middle of the Western Apaches’ 1852

Treaty lands.

       8.       The U.S. government as a trustee of the Apache Nations, and the Western

Apache Peoples in particular, intends to dispose of and allow the total destruction of the

Western Apaches’ Chi’chil Biłdagoteel National Historic District and Traditional Cultural

Property, the seat of Western Apache religious beliefs and the exercises of their religious

freedom as guaranteed first by the Apache Nations’ treaty rights under the 1852 Treaty of

Santa Fe, and by the First Amendment to the United States Constitution, the Religious

Freedom Restoration Act (42 U.S.C. § 2000bb, et seq.), and the United Nations Declaration

on the Rights of Indigenous Peoples, to which the United States of America is a party.




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IMAGE 2: Wendsler Nosie, Sr., co-founder of Apache Stronghold, standing alongside an
Apache ceremonial sweat lodge frame at Chi'Chil Biłdagoteel (“Oak Flat”) on Friday,
December 20, 2019 (Photo by Eli Imadali, Arizona Republic).

       9.      The deliberate and direct effect of the Defendants’ publicly stated concrete

plans and planned actions is to illegally annihilate the religious freedom rights of the

Western Apache Peoples at a sacred and actively utilized religious place and traditional

Western Apache cultural property known to the Apache since time immemorial as Chi’chil

Biłdagoteel. A literal English translation is “Emory Oak extends on a Level,” or more

simply as it is commonly known: “Oak Flat.”

       10.     The publicly stated primary purpose of the Defendants is to enable the

conveyance of federally-managed land which includes Oak Flat, and other lands, to two

foreign mining companies, Rio Tinto and BHP, to install a massive industrial complex to

extract copper ore there, while dumping the toxic waste nearby in the process, knowing that

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Oak Flat is a traditional cultural and religious property of the Plaintiff Apache Stronghold

and all Western Apache Peoples.

       11.      The Plaintiff Apache Stronghold organization and its members have no

adequate administrative remedies available. Plaintiff and many of its members have

repeatedly pleaded with Defendants directly in person and in correspondence, publicly and

privately—including numerous appearances and presentation of testimony before Congress

over the past several years—and participating in various federal agency and Forest Service

administrative processes, asserting their Apache land rights and requesting Defendants to

comply with their obligations and to recognize and honor their Apache land rights and

religious freedom rights, and to either cease or redress the breaches of trust complained of

herein, to no avail.

       12.     Plaintiffs have exhausted all reasonable avenues of redress and remedy other

than this action. Only this Court can provide to Plaintiffs the relief and remedies to which

they are entitled.

       13.     Plaintiff and its members’ beliefs forbid them from participating in any plans

and actions that will cause adverse effects, damage or harms to Oak Flat and all it contains,

both physical and spiritual, or providing access to those who would cause such damage or

harms. This includes participation in any plans and actions and agreements to accept

monetary compensation or other compensation, including proffers of things and promises

presented to the Plaintiff and its members as “mitigation” for the adverse effects, damage, or

harms suffered heretofore—whether temporary or permanent. It also includes being

involved in anything that is contrary to their religious beliefs and teachings.


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       14.     Such attempted “mitigation” proffers, solicitations, and coercions alone—

cloaked in the guise of “meetings,” “listening sessions,” and “consultations”—cause serious

distress and harm to Plaintiff and its members because their religious beliefs forbid such

engagements and actions. It is no different to them than Christians bargaining with the Devil

for their souls. And yet, the Defendants have constantly urged the Plaintiff and its members

to do just that.

       15.         The United States does not have the power and authority to transfer the land

at issue in this case.

       16.     Oak Flat is within the vast area of land and property and the rights thereto

reserved by the Apache Nations to themselves in their 1852 Treaty with the United States of

America,1 commonly known as the “1852 Treaty of Santa Fe,” which was ratified by the

U.S. Senate and proclaimed by President Pierce on March 25, 1853. The 1852 Treaty was

never amended, rescinded, nor terminated.




1
 “1852 Treaty between the U.S. and the Apache Nation of Indians,” sometimes referenced
as the “Treaty of Santa Fe”

       (Articles of a treaty made and entered into at Santa Fe, New Mexico, on the first day
       of July in the year of our Lord one thousand eight hundred and fifty-two, by and
       between Col. E. V. Sumner, U.S.A., commanding the 9th Department and in charge of
       the executive office of New Mexico, and John Greiner, Indian agent in and for the
       Territory of New Mexico, and acting superintendent of Indian affairs of said Territory,
       representing the United States, and Cuentas, Azules, Blancito, Negrito, Capitan Simon,
       Capitan Vuelta, and Mangus Colorado, chiefs, acting on the part of the Apache Nation
       of Indians, situate and living within the limits of the United States.).

       Transcribed copy of the 1852 Treaty available online at
       https://avalon.law.yale.edu/19th_century/apa1852.asp .


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       17.     The Western Apaches through their 1852 Treaty continue to have ownership

interests in the lands proposed to be exchanged by the Defendants. Oak Flat is a place that

has special significance—a place where Apaches traditionally pray, collect water and

medicinal plants for ceremonies, gather acorns and other foods, and honor those that are

buried here. Many traditional Western Apache religious beliefs are seated only at Oak Flat,

which is one reason why they exercise their religion there.

       18.     American history and the land in Arizona is stained with the blood of Apache

women, men, elders and children, hunted down on the Apaches own Treaty lands and

individually killed and mass-murdered in family groups by European and Euroamerican

colonists, “settlers,” “prospectors,” miners, and agents of the United States of America.

Much of it caused by those invaders of Apache land seeking to separate the Apaches from

their Treaty lands which miners and prospectors unscrupulously coveted.

       19.     Those murderous campaigns and genocidal pogroms were rationalized by

dehumanizing the Apache Peoples. See, e.g. , Welch, John R., “Earth, Wind, and Fire: Pinal

Apaches, Miners, and Genocide in Central Arizona, 1859-1874.” (Sage Open Journal,

October-December:1-19 (2017)).2

       20. The United States of America does not have the power and authority to transfer

the Oak Flat land at issue in this case, and in fact has a trust responsibility and fiduciary

duty to Plaintiff Apache Stronghold, and all Western Apaches, to conserve and preserve that

precious and irreplaceable asset and sacred religious property for the benefit of Apache



2
 Article available in Sage Open Journal online at:
https://journals.sagepub.com/doi/full/10.1177/2158244017747016

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Stronghold and all Western Apaches, and to protect Oak Flat from any harm, diminishment,

waste, or loss.




MAP 1: Royce’s Arizona map No. 1, depicting Arizona portions of Western and Chiricahua
Apache homelands (in green, #689) recognized in the treaty of Santa Fe; in the public domain.
Royce, C. C. (1899). “Indian land cessions in the United States” (Arizona map No. 1, p. 922),
Eighteenth annual report of the Bureau of American Ethnology (Washington,
DC: Smithsonian        Institution). Retrieved     from     the    Library    of    Congress
at https://lccn.loc.gov/13023487 .




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      21.    Here is a partial summary timeline of significant and relevant events so far to

date (1955-2020)3:

      September 27, 1955 – President Dwight D. Eisenhower signs Public Land Order 1229
      declaring Oak Flat off limits for mining due to cultural and natural value.
      [Subcommittee on Public Lands and Forests]

      September 25, 1971 – The Department of the Interior, under President Richard M.
      Nixon, renews the mining ban at Oak Flat but opens a loophole in the law: the land
      cannot be mined under federal ownership, but it can be traded to private holders who
      won’t be subject to land use restrictions. [Colorado Natural Resources, Energy &
      Environmental Law Review]

      November 2013 – Resolution Copper introduces the General Plan of Operations
      (GPO) for a proposed mine at Oak Flat. [Resolution Mine EIS]

      December 19, 2014 – Congress passes the National Defense Authorization Act — a
      military spending bill — that includes Section 3003, added by Arizona Senators John
      McCain and Jeff Flake. The “Midnight Rider,” introduced the night before a
      vote, states that Oak Flat would be swapped with private land owned by Rio Tinto and
      BHP Billiton Mining companies. Senator McCain received campaign contributions
      from Rio Tinto affiliates; Senator Flake was a lobbyist for Rio Tinto in
      Namibia. [NYT]

      July 22, 2015 – Apache protestors finish a cross-country trip to Washington, D.C with
      a gathering on the lawn of the Capitol building. Naelyn Pike, a 16-year-old Apache
      activist and co-leader of the Apache Stronghold coalition, tells the Huffington Post:
      “[The Resolution Copper Mining Proposal is] like taking away a church. But the thing
      about Oak Flat is it’s worse, because you can rebuild a church. Oak Flat will be
      completely destroyed and it could never come back.” [Huffington Post]

      November 5, 2015 – Senators Bernie Sanders (D-VT) and Tammy Baldwin (D-WI)
      introduce the first version of the Save Oak Flat Act, S. 2242 to repeal Senator McCain’s
      midnight rider in the National Defense Authorization Act:

             “Section 3003 was strongly opposed by Indian tribes nationwide because it sets
             dangerous legislative precedent for the lack of protection of tribal sacred areas
             located on Federal lands by mandating the conveyance of Federal lands with

3
 Adapted from “The Mine at Oak Flat: A Timeline of Government Bad Faith,” Asa
Burroughs, Moyers On Democracy (December 29, 2020).
Available online at https://billmoyers.com/story/the-mine-at-oak-flat-a-timeline-of-a-
government-bad-faith/

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       significant religious, cultural, historic, and anthropological significance for
       Indian tribes to a private company that will destroy the land.”

The Save Oak Flat Act will die in congress that year. [GovTrack]

March 18, 2016 – The Environmental Impact Statement (EIS) for Resolution Copper
begins. The Federal Register notes that, “The EIS will analyze the no action alternative,
which would neither approve the proposed GPO [General Plan of Operations] nor
complete the land exchange. However, the responsible official does not have discretion
to select the no action alternative…” [The Federal Register] This means that the EIS
alone, which will take four years and include hundreds of hours of public comment,
cannot stop the Rio Tinto mine.

January 17, 2019 – Senator Sanders introduces a third version of the Save Oak Flat
Act. [Govtrack]

August 9, 2019 – Tonto National Forest releases a 1,400-page Draft EIS kickstarting
90 days of public comment. Wendsler Nosie, Sr., Apache resistance leader and
grandfather of youth activist Naelyn Pike, offers testimony at a public hearing: “It’s
like destroying Mount Sinai…How is that going to be replaced?” [Resolution Mine
EIS – Public Meeting Transcript]

March 13, 2020 – Scientists and Apache activists testify before a congressional
subcommittee calling for a halt to the Resolution Copper project. Naelyn Pike, now 21
years old, asked: “How can we practice our ceremonies at Oak Flat when it is
destroyed? How will the future Apache girls and boys know what it is to be Apache,
to know our home when it is gone?” [AZ Central]

May 24, 2020 – A Rio Tinto mine in Australia destroys an Aboriginal site with
evidence of continued human inhabitance dating back 46,000 years. [The Guardian]

June 11, 2020 – A Rio Tinto senior executive tells employees that the company’s
public apologies about the Aboriginal site do not reflect any concession of
wrongdoing. [The Guardian]

September 11, 2020 – The Rio Tinto CEO and two top executives resign over
controversies relating to the destruction of the Aboriginal site. [The Guardian]

December 1, 2020 – The website for the US Department of Agriculture is updated
with a new release date for the Resolution Copper Environmental Impact Timeline —
January 2021. [ResolutionMine.US]

January 4, 2021 – Reuters breaks the news and reports that the U.S. Forest Service
will publish the FEIS on January 15, 2021, quoting Tonto National Forest Acting

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       Supervisor Tom Torres: “The U.S. Forest Service will publish a final environmental
       impact statement for the mine on Jan. 15, a necessary step to complete the land
       exchange, said Tom Torres, acting supervisor of the Tonto National Forest, where the
       mine would be built.”4

                               JURISDICTION AND VENUE

       22.    This Court has jurisdiction over federal claims pursuant to the constitutional

provisions enumerated and pursuant to 28 U.S.C. § 1331 (Federal Question), and 28 U.S.C.

§ 1361, because this is “an action in the nature of mandamus to compel an officer or

employee of the United States or any agency thereof to perform a duty owed to the plaintiff.

This Court also has jurisdiction over the claims pursuant to 28 U.S.C. § 1343 (3) and (4), as

they are brought to redress deprivations of rights, privileges and immunities secured by the

United States Constitution and by law. Jurisdiction is also proper pursuant to the

Declaratory Judgment Act 28 U.S.C. §§ 2201(a) and 2202, and in equity.

       23.    Venue is proper in the U.S. District Court of the District of Arizona, Phoenix

Division, under 28 U.S.C. § 1391(b)(1) & (2), and 28 U.S.C. § 1391(c)(2), and 28 U.S.C. §

1391(e)(1) because a substantial part of the events or omissions giving rise to the claim

occurred in this district, and a substantial part of the property that is the subject of the action

is situated in Pinal County and Gila County, the principal place of business of the Plaintiff

Apache Stronghold is located within Gila County, and Defendants include officers and

employees of the United States and the Department of Agriculture acting in their official

capacities or under color of legal authority.


4
  “Trump to Approve Land Swap for Rio Tinto's Resolution Copper Project,” Ernest
Scheyder, Reuters (January 4, 2021). Article accessed on January 10, 2021, for citation at
https://www.msn.com/en-gb/news/world/trump-to-approve-land-swap-for-rio-tintos-
resolution-copper-project/ar-BB1ct2gu .

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MAP 2: USDA Tonto National Forest Map of the “Oak Flat Parcel” (March 2011; revised
                               March 30, 2015).




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MAP 3: Chi’chil Biłdagoteel Traditional Cultural Property (TCP) Boundary Map
from Chi’chil Biłdagoteel
National Historic District Nomination, United States Department of the Interior
National Park Service


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         National Register of Historic Places Registration Form, at p.38 (September 22,
         2014).


                          IDENTIFICATION OF THE PARTIES

         24.   Plaintiff Apache Stronghold, is a 501(c)(3) Arizona nonprofit community

organization of individuals who come together in unity to battle continued colonization,

defend Holy sites and freedom of religion, and are dedicated to building a better community

through neighborhood programs and civic engagement. Apache Stronghold is based in the

Western Apache lands of the San Carlos Apache Tribe at San Carlos, within the State of

Arizona, connecting Apaches and other Native and non-Native allies from all over the

world.

         25.   Defendant United States of America (“United States” or “U.S.”) is sued for

the wrongful acts of its representatives, employees and agencies. The United States is

further implicated by and through the actions, policies, patterns, practices, and customs of

the other named Defendants and its policy-makers, agents, and officers.

         26.   Defendant Perdue is the Secretary of Agriculture and chief officer for the U.S.

Department of Agriculture (“USDA”), and as such is charged with the primary duties and

responsibilities of the United States and the USDA, including the USDA’s Forest Service,

and those as trustee and fiduciary regarding management of lands and other assets under

USDA Forest Service control or responsibility to which members of federally-recognized

Indian tribes and treaty tribes have rights, including members of the Plaintiff organization,

Apache Stronghold. Perdue is sued in his supervisory and individual capacity.




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       27.     Defendant Christensen is the Chief of the USDA Forest Service and is charged

with the primary duties and responsibilities of the United States and the USDA Forest

Service, and those as trustee and fiduciary regarding management of lands and other assets

under USDA Forest Service control or responsibility to which members of federally-

recognized Indian tribes and treaty tribes have rights, including members of the Plaintiff

organization, Apache Stronghold. Christensen is sued in her supervisory and individual

capacity.

       28.     Defendant Neil Bosworth at all times material herein was the Supervisor of

the USDA Tonto National Forest, and as such is charged with the primary duties and

responsibilities of the United States and the USDA Forest Service, and those as trustee and

fiduciary regarding management of lands and other assets under USDA Forest Service

control or responsibility to which members of federally-recognized Indian tribes and treaty

tribes have rights, including members of the Plaintiff organization, Apache Stronghold.

Bosworth is currently serving in an unknown capacity with the USDA Forest Service within

or under supervision and control of the Regional Forester in the Southwest Region Office.

Bosworth is sued in his supervisory and individual capacity.

       29.     Defendant Tom Torres, is the Acting Supervisor, USDA Tonto National

Forest, and as such is charged with the primary duties and responsibilities of the United

States and the USDA Forest Service, and those as trustee and fiduciary regarding

management of lands and other assets under USDA Forest Service control or responsibility

to which members of federally-recognized Indian tribes and treaty tribes have rights,

including members of the Plaintiff organization, Apache Stronghold. Torres is sued in his


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supervisory and individual capacity, as well as in his former capacity in his position

previous to his appointment as Acting Supervisor of the Tonto National Forest.

                      ADDITIONAL FACTUAL ALLEGATIONS

       30.    The National Defense Authorization Act for Fiscal Year 2015 (“NDAA of

2015”)

       The defendant United States of America, by and through its Department of Agriculture

agency, the Forest Service, and their personnel, has suddenly publicly stated for the first time

its intent to publish a Final Environmental Impact Statement (“FEIS”) on this coming Friday,

January 15, 2021.5 That mere act of publication will immediately enable the Forest Service to

attempt to convey a 2,422-acre parcel of “Forest Service land” to an entity owned entirely by

foreign mining corporations, pursuant to a mandate in Section 3003 of the “Cromnibus” 6



5
  “The final EIS and draft Record of Decision (ROD) presently are scheduled to be
published in the Federal Register on January 15, 2021. Visit Resolution Copper Timeline
(link is external) for more information.” From United States Department of Agriculture,
National Forest Service, Tonto National Forest, Resolution Copper Project and Land
Exchange Environmental Impact Statement webpage,
https://www.resolutionmineeis.us/documents/nez-2014 accessed January 8, 2021. See also,
“Current Status (as of Jan. 4, 2021)” https://www.resolutionmineeis.us (“The final EIS and
draft Record of Decision are scheduled to be published in the Federal Register on January
15, 2021.”).
6
  See, “Get on the Cromnibus: What this odd phrase has to do with the US budget,” Tom
McCarthy, The Guardian (December 12, 2014) https://www.theguardian.com/us-
news/2014/dec/12/cromnibus-odd-phrase-budget-battle-spending-bill . And see, “Senate
passes spending bill, ends government shutdown threat,” By David Lawder and Amanda
Becker, Reuters (December 13, 2014) https://www.reuters.com/article/us-usa-congress-
budget/senate-passes-spending-bill-ends-government-shutdown-threat-
idUSKBN0JR0I820141214 . See also, “Crowd protests copper mine on sacred lands,”
Apache Messenger/Indianz.com (December 22, 2014)
https://www.indianz.com/News/2014/015978.asp


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National Defense Authorization Act of 2015 (“the NDAA”), 7 slipped in at the 11th hour with

a total federal government operational shutdown looming.




     G'an (Mountain Spirits) Canyon at Chi’chil Biłdagoteel National Historic District
           and Western Apache Traditional Cultural Property and Sacred Place
           (Photo by Robert A. Witzeman, M.D., Maricopa Audubon Society)




The Land Exchange Mandate

       31.    While Section 3003 of the NDAA mandates that the Southeast Arizona Land

Exchange shall be done no later than sixty (60) days after the publication of the FEIS, there




7
  H.R.3979 - Carl Levin and Howard P. "Buck" McKeon National Defense Authorization
Act for Fiscal Year 2015, Public Law No: 113-291 https://www.congress.gov/bill/113th-
congress/house-bill/3979/text | https://www.congress.gov/113/plaws/publ291/PLAW-
113publ291.pdf .



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is no such mandate in the NDAA establishing any particular date or time frame for the

publication of the FEIS.

       32.    The FEIS is the precursor act for the land exchange mandate.

       33.    Until as recently as this past summer, the FEIS was not even scheduled in the

Tonto National Forest’s Schedule of Proposed Actions (“SOPA”) to be published until at

least April 2021.

       34.    Plaintiff Apache Stronghold and many of its members, including but not

limited to Wendsler Nosie, Sr., and Naelyn Pike, have been actively engaged throughout the

Forest Service’s conduct of the public administrative processes concerning Rio Tinto and

BHP’s intent to establish a copper mine on local lands near the San Carlos Apache

Reservation, including those managed by the U.S. Forest Service.

       35.    The names and addresses, and even email addresses, of Apache Stronghold

and many of its members, including but not limited to Wendsler Nosie, Sr., and Naelyn

Pike, have been known to the Forest Service for a considerable amount of time, and the

Forest Service has been well aware of their religious rights and legal interests in Oak Flat

and the proposed land exchange and copper mine.

       36.    Without any prior notice to Apache Stronghold and its members—particularly

including but not limited to Wendsler Nosie, Sr., and Naelyn Pike—and in deliberate and

reckless disregard of the rights and legal interests of Apache Stronghold and its Western

Apache members, the Forest Service by and through Tonto National Forest Acting

Supervisor Tom Torres leaked to a Reuters news reporter on or before January 4, 2021, that

the Forest Service will be publishing the FEIS on January 15, 2021.


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The Mandate’s Effect on Plaintiff and the Need for Immediate Relief

       37.      That news, and the now suddenly looming ten (10) day deadline, was a

surprise announcement without any adequate or effective notice of that January 15, 2021

date to Plaintiff Apache Stronghold and its members who have been actively engaged in the

environmental and cultural resources review processes from the beginning days. Plaintiff

Apache Stronghold and its members were shocked and distressed to learn that, first through

a rumor that day, and then through reading the news report.

       38.      Plaintiff notes the obvious fact that the surprise announcement of the

publication date was made and the agency action of publication of the FEIS would be

consummated by the Forest Service before the new Biden Presidential Administration is

inaugurated at 11:00 AM Eastern Standard Time on January 20, 2021.

       39.      That choice of date, even of all the possible dates just in the month of January

2021, is not a coincidence or a mere act of ministerial housekeeping by an outgoing

administration. It is a nefarious act and breach of fiduciary duty and trust by a federal trustee

of the Plaintiff and its Western Apache members, and violates their treaty rights, unduly

burdens their constitutional rights, and their other rights to this land that is at the center of

this case.

       40.      The Resolution Copper Mine is planned and expected to cause a 1,000+ foot

deep, 2-miles wide subsidence crater that would be centered at Oak Flat:




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    Map shows area of massive mining subsidence that would occur to Oak Flat if that land is
    exchanged by the U.S. Forest Service for other land elsewhere in Arizona owned by Rio
         Tinto-BHP’s joint venture entity, Resolution Copper Mine, and Oak Flat gets
                          undermined.(© Reuters/Nancy Wiechec).
     https://www.msn.com/en-gb/news/world/trump-to-approve-land-swap-for-rio-tintos-
                           resolution-copper-project/ar-BB1ct2gu


         41.    Acting Tonto National Forest Supervisor Torres is the person who on January

5, 2021, publicly admitted to a Reuters news reporter that the publication date of the Forest

Service’s Oak Flat Southeast Arizona Land Exchange and Resolution Copper Mine Project

Final Environmental Impact Statement would be Friday, January 15, 2021. That news report

was published online on or about January 4, 2021.8



8
 “Trump To Approve Land Swap For Rio Tinto's Resolution Copper Project,” Ernest
Scheyder, Reuters (January 4, 2021) (“The U.S. Forest Service will publish a final
environmental impact statement for the mine on Jan. 15, a necessary step to complete the

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                                            CLAIMS

                                           COUNT 1

             Violation of the Fifth Amendment to the United States Constitution
                       Due Process (Inadequate and Ineffective Notice)

       42.      Plaintiffs incorporate by reference all preceding paragraphs, images, maps,

and figures.

       43.      Defendants knew Plaintiff’s U.S. Post Office mailing address and email

address and never provided Plaintiff with official notice of their intent and plan to publish

the FEIS on January 15, 2021.

       44.      Defendants lack of adequate and effective notice unlawfully and illegally

prejudiced Plaintiff Apache Stronghold and its members’ treaty rights, property rights,

religious freedom rights, and other legal rights, in violation of their Fifth Amendment Right

to Due Process (Adequate and Effective Notice) in order to be able to effectively petition

the government for redress and the right to remedy to vindicate and protect their rights.

       45.      Absent injunctive and declaratory relief against the Mandate, Plaintiff and its

members have been and will continue to be harmed.

                                           COUNT 2

             Violation of the First Amendment to the United States Constitution
                            Petition Clause and Right to a Remedy

land exchange, said Tom Torres, acting supervisor of the Tonto National Forest, where the
mine would be built.”). Article accessed on January 10, 2021, for citation at
https://www.msn.com/en-gb/news/world/trump-to-approve-land-swap-for-rio-tintos-
resolution-copper-project/ar-BB1ct2gu .

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       46.     Plaintiffs incorporate by reference all preceding paragraphs, images, maps,

and figures.

       47.     The time period of actual notice elapsing from January 4, 2021 to January 15,

2021, is prejudicial and woefully inadequate to provide Plaintiff Apache Stronghold and its

members a fair opportunity to defend their rights and to effectively petition the government

for redress and remedy, and caused undue harm, damage, and imposed an undue burden on

Plaintiff Apache Stronghold and its Western Apache members’ ability to protect their treaty

rights, religious freedom rights, and other legal rights.

       48.     Absent injunctive and declaratory relief against the Mandate, Plaintiff and its

members have been and will continue to be harmed.

                                           COUNT 3

                        Breaches of Trust and Fiduciary Duties
             Demand for Protection of Assets, a Full Accounting, and Damages

       49.     Plaintiffs incorporate by reference all preceding paragraphs, images, maps,

and figures.

       50.     See “MAP 1: Royce’s Arizona map No. 1, depicting Arizona portions of

Western and Chiricahua Apache homelands,” above at p.9, incorporated herein by this

reference.

       51.     The land and property rights containing and pertaining to Chi’chil Biłdagoteel

(Oak Flat) were reserved by the Apaches in the 1852 Treaty of Santa Fe and it has been

managed in trust for them by the U.S. Government as a result of official U.S. Government

support of actions unilaterally removing the Western Apaches from that land and forcing


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them to struggle to continue to maintain their relationships to their land, especially their

traditional cultural and religious relationships.

       52.      This has caused Plaintiff and its Western Apache members undue hardships

and harms throughout all relevant times from their birth.

       53.      The 1852 Treaty land and traditional cultural and religious property was to have

been managed in trust for the Western Apaches by U.S. Government & its agencies once the

Defendant United States of America forced the Western Apaches off of their Treaty land.

       54.      The U.S. Government and its agents at the USDA as Trustee intend to

illegally and unconstitutionally dispose of Western Apache land and religious property.

       55.      U.S. Government and its agents at USDA as Trustee intends to illegally and

unconstitutionally allow total destruction of Plaintiff Apache Stronghold and its Western

Apache members’ land and religious property, and total destruction of the traditional Western

Apaches’ religious beliefs and their free exercise of religion at Oak Flat.

       56.      The United States and its agents breached their fiduciary duties as a trustee for

the Plaintiff Apache Stronghold and its Western Apache members, causing harm and damage

to the Western Apaches as beneficiaries of the trust and fiduciary duties.

       57.      Absent injunctive and declaratory relief against the Mandate, Plaintiff and its

members have been and will continue to be harmed.

                                           COUNT 4

             Violation of the First Amendment to the United States Constitution
                          Free Exercise Clause – Substantial Burden

       58.      Plaintiff incorporates by reference all preceding paragraphs, images, maps,

and figures.

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       59.      Plaintiff Apache Stronghold and its members’ sincerely held religious beliefs

originate at, and are seated at, Oak Flat. Plaintiffs' compliance with these beliefs is a

religious exercise.

       60.      Neither the NDAA of 2015 nor the Mandate is neutral.

       61.      Neither the NDAA of 2015 nor the Mandate is generally applicable.

       62.      The Mandate furthers no compelling governmental interest.

       63.      The Mandate is not narrowly tailored to any governmental interest.

       64.      The Mandate is not the least restrictive means of furthering Defendants’ stated

interests.

       65.      The Mandate creates government-imposed coercive pressure on Plaintiff

Apache Stronghold and its members to change or violate or abandon their religious beliefs.

       66.      The Mandate chills, burdens, inhibits, and destroys Plaintiff Apache

Stronghold and its members’ religious exercise.

       67.      The Mandate imposes a substantial burden on Plaintiff Apache Stronghold and

its members’ religious exercise.

       68.      The Mandate is not narrowly tailored to any compelling governmental

interest.

       69.      The Mandate and Defendants' threatened enforcement of the Mandate violate

Plaintiff Apache Stronghold and its members’ rights secured to them by the Free Exercise

Clause of the First Amendment to the United States Constitution.

       70.      Absent injunctive and declaratory relief against the Mandate, Plaintiff and its

members have been and will continue to be harmed.


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                                             COUNT 5

                      Violation of the Religious Freedom Restoration Act
                                       Substantial Burden

       71.      Plaintiffs incorporate by reference all preceding paragraphs, images, maps,

and figures.

       72.      Plaintiff Apache Stronghold and its members’ sincerely held religious beliefs

originate at, and are seated at, Oak Flat. Plaintiffs' compliance with these beliefs is a

religious exercise.

       73.      The Mandate creates government-imposed coercive pressure on Plaintiffs to

change or violate their religious beliefs.

       74.      The Mandate chills, burdens, inhibits, and destroys Plaintiffs' religious

exercise.

       75.      The Mandate furthers no compelling governmental interest.

       76.      The Mandate is not narrowly tailored to any governmental interest.

       77.      The Mandate is not the least restrictive means of furthering Defendants’ stated

interests.

       78.      The Mandate and the Defendants’ threatened execution of the Mandate violate

Plaintiffs’ rights secured to them by the Religious Freedom Restoration Act, 42 U.S.C.

§ 2000bb, et seq.

       79.      Absent injunctive and declaratory relief against the Mandate, Plaintiffs have

been and will continue to be harmed.

                                             COUNT 6

             Violation of the First Amendment to the United States Constitution

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                                     Free Exercise Clause
                                  Intentional Discrimination

       80.     Plaintiffs incorporate by reference all preceding paragraphs, images, maps,

and figures.

       81.     Plaintiff Apache Stronghold and its members’ sincerely held religious beliefs

originate at, and are seated at, Oak Flat. Plaintiffs' compliance with these beliefs is a

religious exercise.

       82.     Plaintiffs sincerely held religious beliefs prohibit them from allowing harm to

occur at or on or to Oak Flat.

       83.     Plaintiffs' compliance with these beliefs is a religious exercise.

       84.     Despite being informed in detail of these beliefs beforehand, Defendants

designed the Mandate in a way that made it impossible for Plaintiffs to comply with both

their religious beliefs and to allow the Mandate to be imposed.

       85.     Defendants promulgated the Mandate in order to suppress the religious

exercise of Plaintiff Apache Stronghold and its Western Apache members and other

traditional Western Apaches.

       86.     The Mandate and Defendants' threatened enforcement of the Mandate thus

violate the Plaintiffs rights secured to them by the Free Exercise Clause of the First

Amendment to the United States Constitution.




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   Ga'an Mountain Spirit Dancer, Apache Sunrise Ceremony, Oak-Flat (May 19, 2012)
          (Photograph with family permission. © Robin Silver Photography).
     87. Absent injunctive and declaratory relief against the Mandate, Plaintiffs have

been and will continue to be harmed.




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                Western Apache Women in Sunrise Ceremony at Oak Flat
            (Photograph with family permission. © Robin Silver Photography).

                                  PRAYER FOR RELIEF

Wherefore, Plaintiffs respectfully request that the Court:

       1. Declare that the Defendants violated the Plaintiff’s Fifth Amendment Right to Due

       Process (Adequate and Effective Notice), and violated the Plaintiff’s First

       Amendment Right to Petition for Redress and Remedy;

       2. Declare that the parcel of land containing Chi’chil Biłdagoteel (“Oak Flat”) is

       Apache land with treaty and property rights reserved by and to the Apaches in

       accordance with the terms of the 1852 Treaty of Sante Fe, and that the Defendant

       United States of America does not own that land, and does not have the power or

       authority or any right in law or in equity to convey that Apache land to anyone;


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      3. Declare that the Mandate and Defendants' actions and enforcement of the Mandate

      against Plaintiff and its members violate the First and Fifth Amendments to the

      United States Constitution;

      4. Declare that the Mandate and Defendants' actions and enforcement of the Mandate

      against Plaintiff and its members violate the Religious Freedom Restoration Act;

      5. Declare that Defendants breached their trust responsibilities and duties as

      fiduciaries, and caused damage to the Plaintiff and its members, and order a full and

      accurate accounting;

      6. Issue a permanent injunction prohibiting the Mandate;

      7. Award Plaintiff damages, and the costs of this action and reasonable attorney's fees

      and expert witness fees; and

      8. Award such other and further relief as the Court deems equitable and just.


                                           JURY DEMAND

      Plaintiff requests a trial by jury on all issues so triable.



Dated: January 12, 2021                     Respectfully submitted,


                                            /s/Michael Nixon
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